         Case 3:24-cv-06507-JD                                        Document 124                            Filed 06/13/25                         Page 1 of 2

                                                    SIDLEY AUSTIN LLP
                                                    350 SOUTH GRAND AVENUE
                                                    LOS ANGELES, CA 90071
                                                    +1 213 896 6000
                                                    +1 213 896 6600 FAX
                                                                                                                                  +1 213 896 6095
                                                    AMERICA • ASIA PACIFIC • EUROPE                                               STIU@SIDLEY.COM



                                                                              June 13, 2025

The Honorable James Donato                                                                                                                        VIA CM/ECF
U.S. District Court for the Northern District of California
450 Golden Gate Avenue, Courtroom 11, 19th Floor
San Francisco, CA 94102

        Re:            Figma, Inc. v. Motiff Pte. Ltd. et al., Case No. 3:24-cv-06507-JD

Dear Judge Donato:1

        Motiff respectfully requests the Court to order Figma to produce a narrowed set of
documents constituting documents Figma filed with the SEC for its initial public offering (IPO).
This issue has been pending for almost two months and is still unresolved from the issues raised
in Motiff’s April 9, 2025 discovery letter, to which Figma only responded on June 11, 2025. The
parties conferred multiple times in-person on Figma’s IPO documents, including on June 5, 2025,
and Figma continues to refuse to produce these documents.
        The financial data, market analysis, and representations in Figma’s IPO documents are
highly relevant to Figma’s allegations of harm. Any discussion of the market, competitors,
Figma’s pricing, marketing, and projections is highly probative of any alleged harm to Figma, or
lack thereof. Figma was valued at $20 billion in 2022 based on an Adobe acquisition proposal.
Yet Figma claims Motiff, who has just under $5,000 in U.S. revenues and less than $20,000 in
worldwide revenues in over a year on the market, is somehow causing irreparable damage to
Figma’s business, reputation, and market share.
        On February 6, 2025, Motiff served targeted requests (RFP Nos. 12, 13, 15, 18) to obtain
financial, business, and marketing documents from Figma. In response, Figma objected and
largely refused to produce documents. On April 9, 2025, Motiff sought the Court’s assistance in
compelling Figma to produce documents regarding Figma’s pricing strategy and analysis of
competing web design platforms. Dkt. 76 at 2–3.

        Amid this context, Figma filed for an IPO on April 15, 2025. On April 17, 2025, Motiff’s
counsel promptly sent Figma’s counsel a letter stating that Motiff learned about Figma’s IPO filing
through press reports. Motiff explained that Figma’s IPO analysis and representations are relevant
to its allegations of harm and requested that Figma produce all documents filed with the SEC
regarding its IPO. In response, Figma produced only a six-page excerpt from a diligence document
that identifies this litigation.

        On May 21, 2025, in the interest of cooperating, Motiff advised Figma that Motiff had

1
 In the interest of conserving judicial resources and to avoid requiring the Court to sift through
sealed filings on the docket, Motiff submits this amended discovery letter brief to include more
specific information regarding Motiff’s U.S. and worldwide revenues.

       Sidley Austin (CA) LLP is a Delaware limited liability partnership doing business as Sidley Austin LLP and practicing in affiliation with other Sidley Austin partnerships.
        Case 3:24-cv-06507-JD         Document 124        Filed 06/13/25       Page 2 of 2




“narrowed the scope of our original document requests to expedite production.” With respect to
Requests for Production Nos. 12, 13, and 15, Motiff asked only for “[a]ll documents filed with the
SEC relating to Figma’s initial public offering.” Despite Motiff’s good faith identification of one
discrete set of documents, Figma continued to refuse further production. Counsel for the parties
discussed Figma’s IPO filings on several meet-and-confers, including on the in-person meet-and-
confer on June 5, 2025 wherein Figma’s counsel affirmatively represented that Figma would not
be producing its IPO documents filed with the SEC. Because Figma filed its IPO after Motiff’s
initial discovery letter (Dkt. 76), Motiff could not address such documents therein. Such
documents fall within the “pricing strategy and competitive analysis” documents requested in that
letter, thus rendering the initial letter not moot.

        Production of Figma’s IPO filings would meaningfully assuage the prejudice Motiff are
suffering from Figma’s deficient production. And production of these documents is not
burdensome, as they constitute a discrete set that Figma already gathered and filed with the SEC.
Figma has not articulated any legitimate basis for its continued refusal to produce these documents.



                                                     Respectfully submitted,




                                                     Samuel N. Tiu
                                                     Sidley Austin LLP
                                                     Attorney for Defendants




                                                 2
